       Case 3:20-cr-00002-CAB Document 33 Filed 04/16/21 PageID.64 Page 1 of 6



 1 NANCY BRYN ROSENFELD
   Attorney at Law
 2 California State Bar No. 99108
   444 West C Street, Suite 210
 3 San Diego, California 92101
   (619) 234-3616
 4 nrosenfeld11@gmail.com
 5   Attorney for Defendant
     JOSE DE JESUS GOMEZ
 6
 7
                       UNITED STATES DISTRICT COURT
 8
                     SOUTHERN DISTRICT OF CALIFORNIA
 9
                     (HONORABLE CATHY A. BENCIVENGO)
10
11
     UNITED STATES OF AMERICA, )                Criminal No. 20 cr 0002 CAB
12             Plaintiff,        )
                                 )
13                               )
          v.                     )              SENTENCING MEMORANDUM
14                               )
                                 )
15   JOSE DE JESUS GOMEZ         )
          Defendant.             )              Date: April 23, 2021
16                               )              Time: 9:30 a.m.
     __________________________ _)
17
     TO: RANDY GROSSMAN, INTERIM UNITED STATES ATTORNEY;
18   MELANIE   PEARSON, ASSISTANT U.S. ATTORNEY; AND U.S.
     PROBATION :
19
          The defendant, Jose de Jesus Gomez, by and through counsel,
20
     submits this Sentencing Memorandum.
21
                                    I
22                 STATEMENT OF FACTS and INTRODUCTION
23        Jose de Jesus Gomez is a 34 year old United States citizen who lives
24   in Tijuana. Mr. Gomez attempted to bring a large amount of
25   methamphetamine into the United States. He is sincerely remorseful. He
26   asks the court to sentence him to the minimum mandatory of 60 months.
27   Although this is a sentence that is greater than necessary under 18 USC
28   3553(a), it is the minimum sentence under the statute of conviction. He

                                          -1-             20 cr 0002
       Case 3:20-cr-00002-CAB Document 33 Filed 04/16/21 PageID.65 Page 2 of 6



 1   requests a recommendation for the RDAP program to address his
 2   longstanding drug problem.
                                     II
 3                           SENTENCING CONSIDERATIONS
 4 1) The nature and circumstances of the offense and the history and
   characteristics of the defendant.
 5      The Offense Conduct
 6         On December 6, 2019, Jose de Jesus Gomez attempted to drive
 7   through the Otay Mesa point of entry while his Ford F-150 contained 14 kilos
 8   of methamphetamine. Additional Details are provided below.
 9         Jose de Jesus Gomez, History and Characteristics
10         The history contained in the presentence report is accurate.
11   Jose has no medical issues, but for many months after his arrest was
12   distressed, unstable and very emotional. He admits to having a serious
13   problem with drugs. He lived in a sober living home for a few months in the
14   past but did not stay sober very long afterwards.
15          For about a year prior to his arrest, Jose had been living in Tijuana
16   with Perla P. and her children. He crossed the border frequently to work in
17   the United States. Around the time of his arrest, he was hoping to get a job
18   in Santee to look for a gardening laborer job. He is also an experienced
19   welder. He had been unemployed for several months prior to the offense.
20         Jose and Perla P. had known each other for four years. She
21   described him as “an excellent person…he’s calm and good to me and my
22   kids…my kids called him dad and we all miss him very much.” As long as
23   she has known Jose, he has suffered from depression. She does not think
24   he has ever had any type of counseling, but believes he would benefit from
25   counseling and medication. He was providing for her and her children by
26   working as a welder and a gardener.
27         2) The Need for Sentence imposed; 3) Available sentence.
28         A sentence of 60 months is available and reflects the seriousness of
     the offense. It will satisfy the need for just punishment.
                                            -2-             20 cr 0002
       Case 3:20-cr-00002-CAB Document 33 Filed 04/16/21 PageID.66 Page 3 of 6



 1         4) The Guideline Range.
 2         Base offense level
 3         The government agrees that the base offense level should be 38.
 4   The parties further agree to downward adjustments of 3 points for
 5   acceptance of responsibility, and 4 levels for fast track. The defense
 6   requests a further 2 level reduction for role in the offense with a
 7   corresponding 4 level reduction in the base offense level. The defense
 8   requests further variances considering Mr. Gomez’s limited criminal history,
 9   pandemic concerns and other 3553(a) factors for sentence of 60 months.
10         Adjustments and Departures
11         Acceptance of Responsibility
12         Pursuant to USSG 3E1.1(a) and (b), the offense level should be
13   reduced by 3 due to Mr. Gomez’s timely agreement to plead guilty.
14         Fast Track-Early Disposition
15         The government agreed to a 4 level departure under 5K3.1 for the
16   agreement to waive indictment and plead guilty early.
17         Role in the Offense
18        Jose was driving a car that was in his own name and he had owned the
19   car for approximately one year. The day before the arrest, he loaned his car
20   to an acquaintance. It was at that time, the drugs were put in his vehicle.
21   Jose knew that the individual was involved in drug smuggling and
22   deliberately did not ask him questions about what might be placed in his
23   vehicle. He was not certain how much he would be paid but knew he would
24   be compensated for driving the loaded vehicle across the border. He
25   expected to get further directions after he had crossed the border.
26       A downward adjustment is requested based on role in the offense under
27   3B1.2. Although Mr. Gomez transported the drugs, he did not own them and
28   had no say in how they were handled. He was a courier, and his actions
     were directed by others. All the considerations enumerated in 3B1.2 support

                                            -3-             20 cr 0002
       Case 3:20-cr-00002-CAB Document 33 Filed 04/16/21 PageID.67 Page 4 of 6



 1   this analysis.
 2      i. the degree to which the defendant understood the scope and structure
 3   of the criminal activity; Mr. Gomez did not.
 4      ii. the degree to which the defendant participated in planning or
 5   organizing the criminal activity; He was involved for a very short time.
 6      iii. the degree to which the defendant exercised decision-making authority
 7   or influenced the exercise of decision-making authority; None
 8      iv. the nature and extent of the defendant’s participation in the
 9   commission of the criminal activity, including the acts the defendant
10   performed and the responsibility and discretion the defendant had in
11   performing those acts; He did as directed.
12      v. the degree to which the defendant stood to benefit from the criminal
13   activity.   He was not sure but it would have been very small compared to
14   the value of the drugs. .
15         All of the factors favor a finding of minor role in the offense. There is
16   no information provided showing any more than a minor role.
17         Combination of Factors
18         Mr. Gomez’s case involves a combination of factors that justify a
19   departure or variance in this case, including limited criminal history,
20   substance abuse history and pandemic concerns.
21          The following is a translation of a communication received from Mr.
22   Gomez’s brother:
23         Through this letter, I would like to express the following about my brother
24   Jose Gomez. My brother has always been a hardworking, honest, and caring man.
25   He also helps out with household chores and is very caring towards his family.
26   Amongst our family, Jose is the one who stands out because of his nobility.
27   Sincerely, Schlali Gomez Ornelas
28



                                              -4-             20 cr 0002
         Case 3:20-cr-00002-CAB Document 33 Filed 04/16/21 PageID.68 Page 5 of 6



 1   .      Pandemic Concerns
 2          The COVID pandemic has impacted everyone but some individuals
 3   have been affected more than others. Mr. Gomez has had to endure
 4   constant schedule changes while in custody, including phone call
 5   scheduling and probation interview scheduling. He was unable to reach
 6   family members. One of his cellmates died from the coronavirus. This was
 7   very frightening for him. As he only has one kidney he began to worry more
 8   about catching the virus. He has been unable to meet with anyone for the
 9   last 13 months. This has been a terrible experience for him. Although he
10   previously served a sentence in county jail for a state court offense, his
11   longest time in continuous custody was one year. This sentence will be
12   almost 5 times as long. Mr. Gomez’ plea was negotiated prior to the
13   additional two levels now typically recommended by the government for
14   pandemic concerns. Mr. Gomez certainly has suffered more than his share
15   of the impact of the virus.
16          5) Sentence Disparity
17          No disparity would result if Gomez is given a sentence of 60 months.
18           6) Restitution
19          There is no restitution consideration in this case.
20           Comments to the Presentence Report
21          Mr. Gomez had the following comments/corrections to the report:
22   Page 8 #32: His brother, Ruben, now lives in Texas, but Jose has not talked
23   to him for a while.
24   Page 9 #36: Perla was in contact with Mr. Gomez’ defense investigator
25   often and sent various emails stating her support for Jose.
26   Page 9 #37: He and Perla are in touch again and plan to reunite when he is
27   released.
28   Page 9 #38: Jose hopes to live in Mexico and and work in the United States.
     With his welding experience and construction laborer skills, he believes he

                                             -5-            20 cr 0002
         Case 3:20-cr-00002-CAB Document 33 Filed 04/16/21 PageID.69 Page 6 of 6



 1   will have no trouble finding work.
 2   Page 9 #40: Jose does not believe he has mental health issues, but agrees
 3   that he has suffered from depression in the past.
 4   Page 10 #44: The probation officer noted that they were unable to locate a
 5   business by the name of Rainbow Steel. However, in fact the defense
 6   investigator located a Rainbow Steel in Santee at 9484 Mission Park Place.
 7   .
 8                                           III.
 9                                   CONCLUSION
10          A sentence of 36-48 months would be a sufficient sentence in this
11   case and would be a significant punishment for Mr. Gomez, considering his
12   limited prior incarceration. However, as the minimum sentence is 5 years, a
13   60 month sentence is requested. Mr. Gomez will able to use his time
14   productively and hopes to participate in the RDAP program
15          He asks to be able return to family in Mexico upon release.
16
17
18                                         Respectfully Submitted,
19   Dated: April 16, 2021                 /s/ Nancy Bryn Rosenfeld___
                                           Nancy Bryn Rosenfeld
20                                         Attorney for Defendant
                                          Jose de Jesus Gomez
21
22
23
24
25
26
27
28



                                             -6-           20 cr 0002
